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15
16                                 UNITED STATES DISTRICT COURT
17                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
18
19
     RICARDO FORTENBERRY, an individual,                          CASE NO.: 4:19-cv-08374-JST
20
                                 Plaintiff,                       STIPULATION AND PROPOSED ORDER
21                                                                TO DISMISS ENTIRE ACTION WITH
                                                                  PREJUDICE
22          vs.

23   CITY OF SAN LEANDRO, et al.,
24                               Defendants.
25   TO THE COURT AND TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
26     The parties hereby stipulate under Federal Rule of Civil Procedure 41(a)(1)(A)(ii) that all claims
27   and causes of action in this matter be dismissed with prejudice, with Plaintiffs and Defendants each
28
     bearing their own attorney’s fees and costs.

                                                    Stipulation to Dismiss
                             Ricardo Fortenberry v. City of San Leandro, et al. 4:19-cv-08374-JST
                                                              1
               Case 4:19-cv-08374-JST Document 54 Filed 09/21/21 Page 2 of 2




 1
 2   Dated: September 15, 2021               THE LAW OFFICES OF JOHN L. BURRIS
 3
                                                                  /s/James Cook
 4                                                                James Cook
                                                                  Attorney for Plaintiff
 5
 6
     Dated: September 15, 2021               BERTRAND, FOX, ELLIOT, OSMAN & WENZEL
 7
 8                                                                /s/Gregory M. Fox
                                                                  Gregory M. Fox
 9                                                                Attorney for Defendants
10
11                                       ATTORNEY ATTESTATION

12
            I, James Cook, am the ECF user whose identification and password are being used to file the
13
     foregoing documents. Pursuant to Civil Local Rule 5.1(i), I hereby attest that concurrence in the
14
     filing of these documents has been obtained from each of its Signatories.
15
     Dated: September 15, 2021                         THE LAW OFFICES OF JOHN L. BURRIS
16
17                                                                /s/James Cook
                                                                  Ben Nisenbaum, Esq.
18
                                                                  James Cook, Esq.
19                                                                Attorneys for Plaintiffs
20
21                         [Proposed] ORDER OF DISMISSAL WITH PREJUDICE
22         Pursuant to the stipulation of the parties under Federal Rule of Civil Procedure 41(a)(1)(A)(ii),
23   IT IS HEREBY ORDERED that all claims and causes of action are DISMISSED WITH
24   PREJUDICE, with Plaintiff and Defendants each bearing their own attorney’s fees and costs.
25
26
27   Dated: September 21, 2021
                                                                  Hon. Jon S. Tigar
28                                                                United States District Judge


                                                    Stipulation to Dismiss
                             Ricardo Fortenberry v. City of San Leandro, et al. 4:19-cv-08374-JST
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